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NCMB Chapter 13 Plan (1/1/20)

                                                           UNITED STATES BANKRUPTCY COURT
                                                          MIDDLE DISTRICT OF NORTH CAROLINA

Fill in this information to identify your case:


Debtor 1:             Aric                      Richard                     Montgomery                             Check if this is an amended plan,
                      First Name                Middle Name                 Last Name                           and list below the sections of the
                                                                                                                plan that have changed.
Debtor 2:             Charity                   Ann                         Montgomery
(Spouse, if filing)   First Name                Middle Name                 Last Name

Case Number:
(If known)

SSN# Debtor 1: XXX-XX-             xxx-xx-3435

SSN# Debtor 2: XXX-XX-             xxx-xx-6326


                                                                 CHAPTER 13 PLAN


Section 1:        Notices.

To Debtors: This form sets out options that may be appropriate in some cases, but the presence of an option on this form does not indicate that
the option is appropriate in your circumstances. Plans that do not comply with Local Rules and judicial rulings may not be confirmable. You must
check each box that applies in § 1.1 and 1.3 below. If an item is checked as “Not Included” or if both boxes are checked, the provision will be
ineffective if set out later in the plan.

1.1          A limit on the amount of a secured claim, set out in Section 4, which may result in a        Included                  Not Included
             partial payment or no payment at all to the secured creditor.
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase money security interest will                                Not Included
             be done by separate motion or adversary proceeding.
1.3          Nonstandard provisions set out in Section 9                                                  Included                  Not Included


To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

You will need to file a proof of claim in order to be paid under any plan. Official notice will be sent to Creditors, which will provide the name and
address of the Trustee, the date and time of the meeting of creditors, and information regarding the filing of proofs of claim.

You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you
may wish to consult one. If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
to confirmation at least seven days before the date set for the hearing on confirmation. You will receive notification from the Bankruptcy Court of
the date set for the hearing on confirmation. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is
filed. See Bankruptcy Rule 3015.

Section 2:        Payments.

2.1 Plan length. The applicable commitment period is:
            36 Months

                60 Months

2.2 Payments. The Debtor will make payments to the Trustee as follows:

      $2,875.00 per Month for 60 month(s)

      Additional payments          NONE

APPENDIX D                                                             Chapter 13 Plan                                                Page 1
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    The Debtor shall commence payments to the Trustee within thirty (30) days from the date the petition was filed. If fewer than 60 months of
    payments are specified, additional monthly payments will be made to the extent necessary to pay creditors as specified in this plan.

2.3 Liquidation value.

    a.     The amount that allowed priority and non-priority unsecured claims would receive if assets were liquidated in a Chapter 7 case, after
          allowable exemptions, is estimated to be $     .

    b.       Classes of unsecured claims are established, if necessary, based on liquidation value requirements as follows:

          Class    A     - Allowed unsecured claims of Debtor 1         with a liquidation value requirement of $ 1,552.02        .

          Class B        - Allowed unsecured claims of Debtor 2          with a liquidation value requirement of $ 1,402.02           .

          Class    C     - Allowed joint unsecured claims of    Joint Debtors        with a liquidation value requirement of $ 0.00           .

    c.    Due to liquidation value requirements, interest at          per annum will be paid to allowed priority and non-priority unsecured claims as
          provided below:

               Interest to all allowed priority and non-priority unsecured claims.

               Interest to allowed priority and non-priority claims in Class     .

Section 3:        Fees and Priority Claims.

3.1 Attorney fees.

       The Attorney for the Debtor will be paid the presumptive base fee of $ 4,500.00 . The Attorney has received $                      500.00    from the
     Debtor pre-petition and the remainder of the fee will be paid monthly by the Trustee as funds are available.

        The Attorney for the Debtor will be paid a reduced fee of $      . The Attorney has received $             from the Debtor pre-petition and
     the remainder of the fee will be paid monthly by the Trustee as funds are available.

          The Attorney for the Debtor will file an application for approval of a fee in lieu of the base fee.

3.2 Trustee costs. The Trustee will receive from all disbursements such amount as approved by the Court for payment of fees and expenses.

3.3 Priority Domestic Support Obligations (“DSO”).

     a.        None. If none is checked, the rest of Section 3.3 need not be completed or reproduced.


3.4 Other priority claims to be paid by Trustee.

     a.        None. If none is checked, the rest of Section 3.4 need not be completed or reproduced.

     b.        To Be Paid by Trustee

                           Creditor                                                                    Estimated Priority Claim
Davidson County Tax Collector                                                                                                                           $0.00
Internal Revenue Service                                                                                                                                $0.00
NC Department of Revenue                                                                                                                                $0.00
United States Attorney's Office                                                                                                                         $0.00

Section 4:        Secured Claims.

4.1 Real Property – Claims secured solely by Debtor’s principal residence.

     a.        None. If none is checked, the rest of Section 4.1 need not be completed or reproduced.
     b.        Maintenance of payments and cure of default.
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             Installment payments on the claims listed below will be maintained and any arrearage will be paid in full. Proofs of claim should reflect
             arrearage amounts through the petition date. For claims being paid by the Trustee, the Trustee will commence disbursements of
             installment payments the month after confirmation. Any filed arrearage claim will be adjusted to include post-petition installment
             payments through the month of confirmation.

             Amounts stated on a filed proof of claim, and as adjusted to include post-petition payments through the month of confirmation, will
             control over any contrary amounts listed below for the installment payment and the arrearage. Additionally, the Trustee will adjust the
             installment payment in accordance with any Notice of Mortgage Payment Change filed under Bankruptcy Rule 3002.1.

             The Trustee is authorized to pay any post-petition fee, expense, or charge for which notice is filed under Bankruptcy Rule 3002.1 if no
             objection is filed to such fee, expense, or charge.

            Creditor                        Address of Residence                       Current     Installment           Estimated         If Current,
                                                                                         Y/N        Payment              Arrearage           Indicate
                                                                                                                         Amount on         by Debtor
                                                                                                                        Petition Date      or Trustee
Flagstar Bank, FSB 164 Lamore Court Winston Salem, NC                              Y                        $0.00                  $0.00 Debtor
                   27107 Davidson County
                   Value Determined by County Tax Records
                   Joint
                   *2nd Lien not due until 2052*
Flagstar Bank, FSB 164 Lamore Court Winston Salem, NC                              Y                 $1,067.54                     $0.00 Debtor
                   27107 Davidson County
                   Value Determined by County Tax Records
                   Joint

       c.       Claims to be paid in full by Trustee.

            Creditor         Address of Residence           Estimated                   Monthly                     Monthly                  Interest
                                                              Claim                     Payment                      Escrow                    Rate
                                                                                                                    Payment
-NONE-



       d.        Request for valuation to treat claims as secured to the value of the property and any amount in excess as unsecured. This will be
             effective only if the applicable box in Section 1.1. of this plan is checked.

       Creditor              Address of              Value of             Amount of               Amount                Monthly               Interest
                             Residence              Residence               Claims                   of                 Payment                 Rate
                                                                           Senior to              Secured                  to
                                                                          Creditor's               Claim                Creditor
                                                                             Claim
-NONE-

4.2 Real Property – Claims secured by real property other than by Debtor’s principal residence AND claims secured by Debtor’s principal
     residence and additional collateral.

       a.       None. If none is checked, the rest of Section 4.2 need not be completed or reproduced.


4.3 Personal property secured claims.

       a.       None. If none is checked, the rest of Section 4.3 need not be completed and reproduced.

       b.       Claims secured by personal property to be paid in full.

            Creditor                Collateral              Estimated                   Monthly              Interest         Adequate         Number of
                                                              Claim                     Payment                Rate           Protection       Adequate
                                                                                                                               Payment         Protection
                                                                                                                                               Payments
Vive                        Used Mattress &                         $150.00                         3.01      7.50%                   0.00
                            Bed Frame
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         Creditor                 Collateral             Estimated                 Monthly             Interest        Adequate            Number of
                                                           Claim                   Payment               Rate          Protection          Adequate
                                                                                                                        Payment            Protection
                                                                                                                                           Payments
Badcock Home             Beds and coffee table                   3,712.65                    74.39      7.50%                  37.12
Furniture & More

    c.         Claims secured by personal property excluded from 11 U.S.C. § 506 being either (i) incurred within 910 days before the petition date
           and secured by a purchase money security interest in a motor vehicle acquired for personal use of the Debtor, or (ii) incurred within one
           (1) year of the petition date and secured by a purchase money security interest in any other thing of value. The filed claim must include
           documentation to show exclusion from 11 U.S.C. § 506 in order to be paid in full.

         Creditor                 Collateral             Estimated                 Monthly             Interest        Adequate            Number of
                                                           Claim                   Payment               Rate          Protection          Adequate
                                                                                                                        Payment            Protection
                                                                                                                                           Payments
Ally Bank                2017 Toyota                           $16,115.00                 $298.90       7.50%                $149.16
                         Tundra 40,000
                         miles
                         VIN #:
                         5TFRM5F11HX1220
                         68
                         Includes: 4.6L V8
                         Engine
                         Value Determined
                         by 90% of NADA
                         Clean Retail Value
                         Joint
Wells Fargo Bank,        2022 Kia Sportage                     $19,204.00                 $384.81       7.50%                $192.04
National                 20,000 miles
Association              VIN #:
                         KNDPM3AC2N7995
                         389
                         Includes: N/A
                         Value Determined
                         by 90% of NADA
                         Clean Retail Value
                         Joint

    d.         Request for valuation to treat claims as secured to the value of the collateral and any amount in excess as unsecured. This will be
           effective only if the applicable box in Section 1.1 of this plan is checked.

   Creditor         Estimated        Collateral   Value of       Amount of     Amount of          Monthly         Interest    Adequate       Number
                    Amount of                     Collateral       Claims    Secured Claim        Payment           Rate      Protection        of
                    Total Claim                                   Senior to                                                    Payment      Adequate
                                                                 Creditor's                                                                 Protection
                                                                    Claim                                                                   Payments
Conn's, Inc.         $2,082.88 Househol             $500.00            $0.00      $500.00              $10.02     7.50%             0.00
                               d Goods
                               and
                               Furnishin
                               gs: Stove,
                               Dishwash
                               er,
                               Refrigerat
                               or
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    Creditor          Estimated      Collateral       Value of       Amount of    Amount of       Monthly        Interest   Adequate       Number
                      Amount of                       Collateral       Claims   Secured Claim     Payment          Rate     Protection        of
                      Total Claim                                     Senior to                                              Payment      Adequate
                                                                     Creditor's                                                           Protection
                                                                        Claim                                                             Payments
PenFed                $45,032.37 2019             $30,667.50               $0.00 $30,667.50           $614.51    7.50%        $306.67
Credit Union                     Toyota
                                 Sienna
                                 90,000
                                 miles
                                 VIN #:
                                 5TDXZ3D
                                 C2KS999
                                 196
                                 Includes:
                                 Rear
                                 Parking
                                 Sensors,
                                 Power
                                 Sunroof
                                 Value
                                 Determin
                                 ed by
                                 90% of
                                 NADA
                                 Clean
                                 Retail
                                 Value
                                 Joint

      e.       Maintenance of payments and cure of default.

           Installment payments on the claims listed below will be maintained and any arrearage will be paid in full. Proofs of claim should reflect
           arrearage through the petition date. For claims being paid by the Trustee, the Trustee will commence disbursements of installment
           payments the month after confirmation and any filed arrearage claims will be adjusted accordingly. Amounts stated on a proof of claim
           as adjusted to include post-petition payments through the month of confirmation, will control over any contrary amounts listed below
           for the installment payment and the arrearage.

           Creditor                      Collateral                        Installment          Estimated Arrearage           Pre-Confirmation
                                                                            Payment             Amount on Petition           Adequate Protection
                                                                                                       Date                       Payments
-NONE-

The Debtor requests that the Court determine the value of the secured claims listed as set forth in Sections 4.1.d, 4.2.d, and 4.3.d as applicable.
For each non-governmental secured claim listed above, the Debtor states that the value of the secured claim should be set out in the column
headed Amount of Secured Claim. For secured claims of governmental units only, unless otherwise ordered by the Court, the value of a secured
claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary amount listed above. For each listed claim,
the value of the secured claim will be paid in full with interest at the rate stated above.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Section 6 of this plan.
If the amount of a creditor’s secured claim is listed above as having no value, the creditor’s allowed claim will be treated in its entirety as an
unsecured claim under Section 6 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of
claim controls over any contrary amounts listed in Section 4.

The holder of any claim listed in Section 4 as having value in the column headed Amount of Secured Claim will retain the lien on the property
interest of the Debtor or the estate until the earlier of:

    (a) payment of the underlying debt determined under non-bankruptcy law, or

    (b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

Section 5:       Collateral to be Surrendered.

      a.       None. If none is checked, the rest of Section 5 need not be completed or reproduced.
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Section 6:      Nonpriority Unsecured Claims.

6.1 Nonpriority unsecured claims not separately classified.

      Allowed nonpriority unsecured claims will be paid pro rata with payments to commence after priority unsecured claims are paid in full. There
      is no requirement for a distribution to nonpriority unsecured claims except as provided in Section 2.3 or 6.

      a.     The minimum sum of $          will be paid pro rata to nonpriority unsecured claims due to the following:

                     Disposable Income

                     Other

      b.     Allowed non-priority unsecured claims will be paid in full with interest at     % per annum due to all disposable income not being
                  applied to the plan payment.

6.2 Separately classified nonpriority unsecured claims.


      a.     None. If none is checked, the rest of Section 6.2 need not be completed or reproduced.


Section 7:      Executory Contracts and Unexpired Leases.



      a.      None. If none is checked, the rest of Section 7 need not be completed or reproduced.


Section 8:      Local Standard Provisions.

8.1 a. The Trustee shall collect and disburse payments in accordance with the plan.
     b. Proofs of claim must be filed to receive disbursements pursuant to the plan. Any claim to be paid as secured must contain evidence of a
         properly perfected lien on property of the estate. If a claim is listed as secured and the creditor files an unsecured claim, the claim will be
         treated as unsecured.
     c. Any creditor holding an allowed secured claim and to whom the Debtor is surrendering property under the order confirming plan is
         granted relief from the automatic stay as to the property and relief from any co-debtor stay so the creditor may obtain possession and
         liquidate the property. Any net proceeds, after payment of liens and costs of liquidation, are to be forwarded to the Trustee.
     d. All payments being made by the Trustee on any claim secured by real or personal property shall terminate upon the lifting of the
         automatic stay with respect to the affected property.
     e. Notwithstanding the allowance of a claim as secured, all rights under Title 11 to avoid liens or transfers are reserved and confirmation of
         the plan is without res judicata effect as to any action to avoid a lien or transfer.
     f. Notwithstanding 11 U.S.C. § 1327(b), all property of the estate as specified by 11 U.S.C. §§ 541 and 1306 shall continue to be property of
         the estate following confirmation until the earlier of discharge, dismissal, or conversion of the case.
     g. Confirmation of the plan shall not prejudice the right of the Debtor or Trustee to object to any claim.
     h. The Debtor must promptly report to the Trustee and must amend the petition schedules to reflect any significant increases in income and
         any substantial acquisitions of property such as inheritance, gift of real or personal property, or lottery winnings.

8.2 THE FOLLOWING ADDITIONAL PROVISIONS ARE APPLICABLE TO THE HOLDER OR SERVICER (“HOLDER”) OF A CLAIM SECURED BY A DEED OF
     TRUST, A MORTGAGE OR SECURITY INTEREST IN REAL PROPERTY, OR A MOBILE HOME THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE:

      a. The Holder, upon confirmation, is precluded from imposing late charges or other default related fees based solely on pre-confirmation
         default.

      b. If the Trustee is disbursing ongoing monthly installment payments, the Holder must apply each ongoing payment to the month in which
         the payment is designated.

      c. For any loan with an escrow account, the Holder must prepare and must send an escrow analysis annually to the Debtor, the Trustee and
         the Debtor’s attorney. The first escrow analysis must be filed with the proof of claim in accordance with Bankruptcy Rule 3002.1. The
         escrow analysis should not include any amounts that were included or should have been included in the arrearage claim.
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      d. The Holder shall continue to send monthly statements to the Debtor in the same manner as existed pre-petition and such statements will
         not be deemed a violation of the automatic stay.

      e. The Holder is required, upon request, to provide account information to the Trustee within 21 days of the request and failure to provide
         a timely response may result in an order requiring the Holder to appear and show cause as to why Holder should not be sanctioned for
         failure to comply.

      f. Nothing herein shall modify Holder’s responsibilities under Bankruptcy Rule 3002.1.

      g. Unless the Court orders otherwise, an order granting a discharge in the case shall be a determination that all pre-petition and
         post-petition defaults have been cured and the account is current and reinstated on the original payment schedule under the note and
         security agreement as if no default had ever occurred.
      h. PENALTY FOR FAILURE OF HOLDER TO COMPLY WITH THE REQUIREMENTS OUTLINED IN BANKRUPTCY RULE 3002.1.
         Without limitation to the Court’s authority to afford other relief, any willful failure of the Holder to credit payments in the manner
         required by Bankruptcy Rule 3002.1 or any act by the creditor following the entry of discharge to charge or collect any amount incurred or
         assessed prior to the filing of the Chapter 13 Petition or during the pendency of the Chapter 13 case that was not authorized by the order
         confirming plan or approved by the Court after proper notice, may be found by the Court to constitute contempt of Court and to be a
         violation of 11 U.S.C. § 524(i) and the injunction under 11 U.S.C. § 524(a)(2).

Section 9:      Nonstandard Plan Provisions.

           a.          None. If none is checked, the rest of Section 9 need not be completed or reproduced.


By filing this document, the Debtor(s), if not represented by an Attorney, or the Attorney for Debtor(s) certify(ies) that the wording and order of
the provisions in this Chapter 13 Plan are identical to those contained in NCMB Chapter 13 Plan, other than any nonstandard provisions
included in Section 9.

Signature(s):

If the Debtor(s) do not have an Attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The Attorney for the
Debtor(s), if any, must sign below.

     /s/ Aric Richard Montgomery                                            /s/ Charity Ann Montgomery
     Aric Richard Montgomery                                                Charity Ann Montgomery
     Signature of Debtor 1                                                  Signature of Debtor 2

     Executed on     September 13, 2022                                     Executed on     September 13, 2022
                     mm/dd/yyyy                                                             mm/dd/yyyy


/s/ Damon T. Duncan                                                        Date:   September 13, 2022
Damon T. Duncan
Signature of Attorney for Debtor(s)

Address:         628 Green Valley Rd. #304
                 Greensboro, NC 27408
Telephone:       336-856-1234
State Bar No:    39650 NC
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                                                        UNITED STATES BANKRUPTCY COURT
                                                         Middle District of North Carolina

In re: Aric Richard Montgomery                                          )         Case No.
       Charity Ann Montgomery                                           )
       164 Lamore Court                                                 )
                        (address)                                       )
       Winston Salem NC 27107-0000                                      )         CHAPTER 13 PLAN
SS# XXX-XX- xxx-xx-3435                                                 )
SS# XXX-XX- xxx-xx-6326                                                 )
                                                                        )
                              Debtor(s)                                 )

                                                               CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the plan was served by first class mail, postage prepaid , to the following parties at their respective
addresses:

Reid Wilcox
Clerk of Court
U.S. Bankruptcy Court
Middle District of North Carolina
P.O. Box 26100
Greensboro, NC 27402
Kathryn L. Bringle
Chapter 13 Trustee
Winston-Salem Division
Post Office Box 2115
Winston-Salem, NC 27102-2115

10 Cycles, LLC
Attn: Officer
10501 Monroe Road
Matthews, NC 28105
Ally Bank
Attn: Officer
200 West Civic Centre Drive, Suite 201
Sandy, UT 84070
Ally Lending
Attn: Officer
PO BOx 9212
Old Bethpage, NY 11804
Apple Card
Attn: Officer
PO Box 7247
Philadelphia, PA 19170
Attn: Merrick Garland
Attorney General of the U.S.
US Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530-0001
Badcock Home Furniture & More
Attn: Officer
1409 10th Street
Lake Park, FL 33403
Bank of America
Attn: Officer
PO Box 110564
Durham, NC 27709
Boost Credit Line
Attn: Officer
125 Mission Ranch Blvd.
Chico, CA 95926
Capital One
Attn: Officer
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PO Box 71083
Charlotte, NC 28272
Carson Smithfield LLC
Attn: Officer
PO Box 660702
Dallas, TX 75266
Conn's, Inc.
Attn: Officer
2445 Technology Forest Blvd., Suite 800
The Woodlands, TX 77381
Credit First
Attn: Officer
PO Box 81344
Cleveland, OH 44188
Credit One
Attn: Officer
PO Box 60500
City of Industry, CA 91716
Cross River Bank
Attn: Officer
885 Teaneck Road
Teaneck, NJ 07666
Davidson County Tax Collector
Attn: Officer or Managing Agent
913 Greensboro St.
Lexington, NC 27292
Discover
Attn: Officer
PO Box 71242
Charlotte, NC 28272
Duncan Law, LLP
628 Green Valley Rd.
Suite 304
Greensboro, NC 27408
Eloan Wearhouse
Attn: Officer
PO Box 1753
Hayward, WI 54843
Equifax, Inc
Attn: Bankruptcy Notification
P.O. Box 740241
Atlanta, GA 30374
Experian
Attn: Bankruptcy Notification
PO Box 9701
Allen, TX 75013
Finewise Bank
Attn: Officer
756 E. Winchester Street, Suite 100
Salt Lake City, UT 84107
Flagstar Bank, FSB
Attn: Officer
5151 Corporate Drive
Troy, MI 48098
Flagstar Bank, FSB
Attn: Officer
5151 Corporate Drive
Troy, MI 48098
InDebted
Attn: Officer
PO BOx 1201
Farmington, MO 63640
Internal Revenue Service
Attn: Centralized Insolvency Operation
P.O. Box 7346
Philadelphia, PA 19101-7346
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Kevin Powell Motorsports
Attn: Officer
Klarna
Attn: Officer
PO Box 206487
Dallas, TX 75320
Kohl's
Attn: Officer
PO Box 60043
Charlotte, NC 28201
Milestone/GPS
Attn: Officer
P.O. Box 4499
Beaverton, OR 97076
MNET Financial
Attn: Officer
95 Argonaut St. Suite 200
Aliso Viejo, CA 92656
Mohela / Dept. of Education
Attn: Officer
633 Spirit Drive
Chesterfield, MO 63005
NC Department of Revenue
Attn: Bankruptcy Dept.
Post Office Box 25000
Raleigh, NC 27640
OneMain Financial Group, LLC
Attn: Officer
160 Mine Lake Ct. Ste. 200
Raleigh, NC 27615
OPP Loans
Attn: Officer
130 E Randolph Street, Suite 3400
Chicago, IL 60601
PenFed Credit Union
Attn: Officer
7940 Jones Branch Drive
Mc Lean, VA 22102
Regional Finance
Attn: Officer
5062 Peters Creek Parkway
Winston Salem, NC 27127
Rosebud Lending LZO Zocaloans
Attn: Officer
PO BOx 1147
Mission, SD 57555
Royalty
Attn: Officer
1411 Plaza West Road
Winston Salem, NC 27103
Sessoms and Rogers PA
Attn: Officer
PO Box 110564
Durham, NC 27709
Spotloan
Attn: Officer
PO Box 720
Belcourt, ND 58316
SRS Motorsports, Inc.
Attn: Officer
3112 Sands Dr.
Greensboro, NC 27405
Synchrony Care Credit
Attn: Officer
PO Box 960061
Orlando, FL 32896
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Synchrony Google Finance
Attn: Officer
PO Box 960061
Orlando, FL 32896
Transportation Alliance Bank
Attn: Officer
4185 Harrison Blvd.
Ogden, UT 84403
TransUnion
Attn: Bankruptcy Notification
P.O. Box 1000
Crum Lynne, PA 19022
United States Attorney's Office
Middle District of North Carolina
101 S. Edgeworth Street - 4th Floor
Greensboro, NC 27401
Upgrade
Attn: Officer
2 N Central Avenue, 10th Floor
Phoenix, AZ 85004
Verizon
Attn: Officer
PO Box 489
Newark, NJ 07101
Vive
Attn: Officer
3605 Glenwood Avenue Suite 500
Raleigh, NC 27612
Wake Forest Ambulatory Ventures
Attn: Officer
PO Box 110564
Durham, NC 27709
Wake Forest Baptist Health
Attn: Officer
1 Medical Center Boulevard
Winston Salem, NC 27157
Wells Fargo Bank, National Association
Attn: Officer
101 N. Phillips Avenue
Sioux Falls, SD 57104

Date   September 13, 2022                                 /s/ Damon T. Duncan
                                                          Damon T. Duncan
